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6                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
7                              The Honorable Rosanna Malouf Peterson

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9
     UNITED STATES OF AMERICA,
10                                                    Case No. 2:20-cr-160-RMP-1
                 Plaintiff,
11                                                    REPLY TO GOVERNMENT’S RESPONSE
            v.                                        TO MOTION TO SUPPRESS
12
     MERCED ZAMORA,                                   Oral Argument
13                                                    October 12, 2021 @ 3:00 p.m.
                 Defendant.
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18   Introduction
           According to the government’s response, the initial search of Mr. Zamora’s car
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     was legal because police “arrested” him for driving with a suspended license which
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     REPLY BRIEF - 1
       Case 2:20-cr-00160-RMP      ECF No. 29    filed 09/28/21   PageID.199 Page 2 of 7




1    provided statutory authority to impound his car. When a gun was found during the

2    “inventory search” required by impound policy, a criminal history check was run on

3    Mr. Zamora. Learning he was a convicted felon and therefore legally ineligible to

4    possess a gun, the tow location was changed to allow for a search warrant application.

5    A search warrant was obtained and a gun and drugs were recovered.

6          There are two big holes in the government’s story.

7          First, Deputy Cinkovich told Deputy Othmer, before the “inventory search”

8    he saw suspected drugs in Mr. Zamora’s car. Photos provided in discovery and the

9    report of Deputy Othmer prove this evidence was not in plain view, therefore Deputy

10   Cinkovich conducted a search without a warrant or probable cause before the

11   inventory search.

12         Second, Mr. Zamora was not arrested for driving with a suspended license.

13   Even after finding evidence of an illegal gun and potential controlled substances,

14   Deputy Othmer removed Mr. Zamora from the back of his police car, took off the

15   handcuffs and sent him on his way.

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     REPLY BRIEF - 2
         Case 2:20-cr-00160-RMP      ECF No. 29    filed 09/28/21   PageID.200 Page 3 of 7




1                              I. Cinkovich leaned inside the vehicle

2              The government acknowledges that before the “inventory search”, Deputy

3    Cinkovich advised Deputy Othmer he had seen a plastic bag containing suspected

4    drugs “stuffed between the driver’s seat and the middle console inside the vehicle.”1

5              In its response, the government states, “Deputy Cinkovich during this process

6    informed Deputy Othmer from outside the vehicle he observed what appeared to

7    be a clear plastic bag containing a crystal like substance. ECF No. 27-2.” (emphasis

8    added). This is a misrepresentation of Deputy Cinkovich’s report.2 He does not say

9    where he was located when he saw the plastic bag.

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     The “from outside the vehicle” reference is in Deputy Othmer’s first report,3 which
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     also says the plastic bag was “lying between the driver seat and the center console.”
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         ECF No. 27-2, p. 2 (Motion to Suppress Exhibit B – Cinkovich Report),

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     2
         Id.
     3
         ECF No. 27-1, p. 3.
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     REPLY BRIEF - 3
         Case 2:20-cr-00160-RMP      ECF No. 29   filed 09/28/21   PageID.201 Page 4 of 7




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4    In a supplemental report dated January 11, 20194, Deputy Othmer adds that he could
5    not see the drugs when he looked through the driver side window.5
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               Photographs taken by law enforcement clearly show the baggie could not be
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     seen because it was not lying between the driver seat and center console, but rather
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     pushed down deep between the two. The photo below of the front passenger area of
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     Mr. Zamora’s car, taken from with the open driver’s door, reveals no plastic baggie
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     much less suspected drugs inside.6
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     4
      The signature line of Deputy Othmer’s supplemental report is dated January 11,
18   2019. The body of the report outlines the search of Mr. Zamora’s vehicle which
     purported occurred on January 15, 2019 after the receipt of a search warrant issued by
19   a Spokane County Judge. ECF No. 27-6.

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     5
         Id.
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         Government’s discovery, Bates 100000010.
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     REPLY BRIEF - 4
         Case 2:20-cr-00160-RMP    ECF No. 29    filed 09/28/21   PageID.202 Page 5 of 7




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     Next, a close up photo of the plastic bag with white contents where it was recovered
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     between the console and the seat belt receptacle.7
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     To suggest Deputy Cinkovich saw this baggie from outside the vehicle borders on
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     ludicrous. These photos support Mr. Zamora’s recollection of seeing an officer place
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         Government’s discovery, Bates 100000017
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     REPLY BRIEF - 5
         Case 2:20-cr-00160-RMP     ECF No. 29    filed 09/28/21   PageID.203 Page 6 of 7




1    his upper body inside the vehicle. Opening a door and leaning inside a vehicle is a

2    search. U.S. v. Ngumezi, 960 F.3d 1285, 1290 (9th Cir. 2020). Conducting such a

3    search without a warrant or probable cause is unconstitutional. Id.

4             At the time Deputy Cinkovich saw the plastic bag with suspected drugs,

5    Deputy Othmer had stopped Mr. Zamora for a traffic violation and determined his

6    license was suspended. No probable cause existed to perform a warrantless search.

7    As such, everything which came after Deputy Cinkovich leaning inside the car is fruit

8    of the poisonous tree and must be excluded. Utah v. Strieff, 136 S.Ct. 2056, 2061

9    (2016).

10           II. Mr. Zamora was not arrested for driving with a suspended license

11            A large part of the government’s response focuses RCW 46.55.113, which

12   provides “Whenever the driver of a vehicle is arrested for a violation of RCW

13   46.20.3428 . . ., the vehicle is subject to summary impoundment. . .” However,

14   Deputy Othmer failed to arrest Mr. Zamora. He placed Mr. Zamora in handcuffs and

15   detained him in the backseat of his police car for a time, but he did not arrest him.

16   There is no evidence that Deputy Othmer even wrote Mr. Zamora a ticket for the

17   alleged traffic offense or referred the charge of driving with a suspended license to the

18   prosecutor. The statute does not provide for summary impoundment when a driver is

19   temporarily detained.

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         RCW 46.20.342 forbids driving with a suspended license.
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     REPLY BRIEF - 6
         Case 2:20-cr-00160-RMP     ECF No. 29     filed 09/28/21   PageID.204 Page 7 of 7




1            The government suggests impounding the car was reasonable because it was

2    not registered to Mr. Zamora so it may have been stolen or taken without permission.

3    This is mere speculation. The license plate, vehicle registration, and VIN number of

4    the car were queried and returned “no wants.”9

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6                                        III. Conclusion

7            Mr. Zamora reserves the right to address any arguments made by the

8    government but not addressed in this reply at the October 12, 2021 hearing. For the

9    reasons set forth in his Motion to Suppress and those set out above, Mr. Zamora

10   respectfully asks the Court to suppress the illegally-obtained evidence from January

11   11, 2019 and the proceeds from the search warrants dated January 15 and 16, 2019.

12   Dated: September 28, 2021

13                                             /s/Lorinda Meier Youngcourt
                                               Lorinda Meier Youngcourt
14
                                       Certificate of Service
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             I certify that on September 28, 2021 I electronically filed the foregoing with the
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     Clerk of the Court using the CM/ECF System, which will notify all counsel of record.
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                                               /s/Lorinda Meier Youngcourt
18                                             Lorinda Meier Youngcourt

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         ECF No. 28-1 (CAD report).
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     REPLY BRIEF - 7
